IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

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AFC soUTH, INC., d/b/a meara aside

ROCK HARBOR MARINE
Plaintiff,

Civil Action No.
Jury Demand

V.

THE TRAVELERS INSURANCE
COMPANIES, THE CHARTER OAK
FIRE INSURANCE COMPANY, ST.
PAUL FIRE & MARINE INSURANCE
and ANCHOR INSURANCE AGENCY,
INC.

Defendants.

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PETITION FOR REMOVAL

 

PLEASE TAKE NOTICE that Defendants, the Charter Oak Fire Insurance
Company, St. Paul Fire & l\/Iarine Insu;rance, and the entity incorrectly named as “the
Travelers Insurance Companies”, hereby remove this case to the United States District
Court for the Middle District of Tennessee, Nashville Division, pursuant to 28 U.S.C. §§.
1441 and 1446. The grounds for the removal are as follows:

l. Plaintiff filed the above-styled action on April 27, 2012 against the
Charter Oak Fire lnsurance Company, St. Paul Fire & Marine Insurance, and the entity
incorrectly named as “the Travelers Insurance Cornpanies”, in the Circuit Court of
Davidson County, Tennessee in Nashville, Tennessee. The suit is styled: AFC South,
Inc. d/b/a Rock Harbor Marl`ne v. T he Travelers ]nsurance Companies, T he Charter Oak

Fz're Insurcmce Company, St. Paul Fz're & Marine Insurance, and Anchor Insurance

Case 3:12-Cv-00564 Document 1 Filed 06/01/12 Page 1 of 4 Page|D #: 1

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Agency, Inc., docket number 12C1740 A true and correct copy of the pleading is
attached hereto as EXhibit A.

2. The suit Was served on these Defendants on May 2, 2012.

3. Other than the filing of the Complaint, no proceedings have taken place in
this matter. These Defendants remove this action to the United States District Court for
the Middle District of Tennessee, Nashville Division pursuant to the provisions of 28
U.S.C. § 1441 on the grounds that this Court has jurisdiction pursuant to 28 U.S.C. §§
1332 and 1333.

4. Plaintiff, AFC South, Inc. d/b/a Rock Harbor Marine, alleges in the
Complaint that it is a Tennessee corporation that does business as Rock Harbor Marine at
525 BassWood Drive, Nashville, Tennessee 37209.

5 . The Charter Oak Fire Insurance Company, St. Paul Fire `& Marine
Insurance, and the entity incorrectly named as “the Travelers Insurance Companies”, are
correctly alleged in the Complaint to be foreign corporations engaged in the sale and
issuance of insurance in Tennessee. They are Connecticut insurance companies

6. Defendant Anchor Insurance Agency, Inc. is a Kentucky corporation With
its principal place of business at 12211 Old Shelbyville Road, Louisville, Kentucky
40243. Defendant Anchor Insurance Agency, Inc., by and through its counsel of record,
has consented to removal of this case to the United States District Court for the Middle
District of Tennessee, Nashville Division.

7. This dispute is between persons of different states and the amount in

dispute, based upon allegations as made, is in excess of $75,000.00, exclusive of costs

Case 3:12-Cv-00564 Document 1 Filed 06/01/12 Page 2 of 4 Page|D #: 2

 

and interest; therefore, it also meets the jurisdictional requirements of this Court pursuant
to the provisions of 28 U.S.C. § 1332(a).

8. Moreover, this Court has jurisdiction pursuant to 28 U.S.C. § 1333 (1)
because it involves a dispute over a maritime insurance contract focusing on maritime
commerce.

9. Venue is correct herein because Plaintiffs’ action is pending in Nashville,
Davidson County, Tennessee.

10. Counsel for these Defendants has served on counsel for Plaintiff and
Counsel for Defendant Anchor Insurance Agency, Inc. a copy of this Petition for
Removal. A Copy of the Petition for Removal Will have been filed in the Davidson
County Circuit Court by these Defendants Within 30 days of service of the Complaint on
Defendants.

WHEREFORE, please take notice that Defendants, the Charter Oak Fire
Insurance Company, St. Paul Fire & Marine Insurance, and the entity incorrectly named
as “the Travelers Insurance Companies”, removes the state action styled AFC South, Inc.
d/b/a Rock Harbor Marine v. T he Travelers Insurance Companies, T he Charter Oak Fz're
Insurance Company, St. Paul Fire & Marine Insurance, and Anchor Insurance Agency,
Inc., docket number 12C1740 from the Circuit Court of Davidson County at Nashville,
Tennessee, Where it is now pending, to the United States District Court for the Middle

District of Tennessee on this the lst day of June 2012.

Case 3:12-cv-00564 Document 1 Filed 06/01/12 Page 3 of 4 Page|D #: 3

Respectfully submitted,

SPICER RUDSTROM PLLC

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Attorneys for the Charter Oak Fire
Insurance Company, St. Paul Fire & Marine
Insurance, and the entity incorrectly named
as “the Travelers Insurance Companies'”

CERTIFICATE OF SERVICE

I hereby certify that a true and exact copy of the foregoing has been sent via
United States mail, postage prepaid, properly addressed and via fax to:

Aubrey HarWell, Esq.
Ronald G. Harris, Esq.
Neal & HarWell, PLC
2000 One Nashville Place
150 Fourth Avenue, North
Nashville, TN 37219

this lst day ofJune 2012.

 

Brent S. Usery

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Case 3:12-cv-00564 Document 1 Filed 06/01/12 `Page 4 of 4 Page|D #: 4

